            Case 1:17-cr-00201-ABJ Document 551 Filed 03/15/19 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                      Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                     Defendant.

                                    JOINT STATUS REPORT

       COMES NOW, the United States of America, by and through Special Counsel Robert S.

Mueller, III, and the defendant through his counsel, and file this joint status report to update the

Court on this matter.

       1.       The parties previously filed a Joint Status Report on January 15, 2019 and proposed

to send an ensuing report within sixty days and no later than March 15, 2019. To date, the status

of this matter has not changed substantially since the January report, as defendant Gates continues

to cooperate with respect to several ongoing investigations, and accordingly the parties do not

believe it is appropriate to commence the sentencing process at this time.

       2.       The parties respectfully request that they provide a joint status report within sixty

days, no later than May 14, 2019.

                                                       Respectfully submitted,

                                                       ROBERT S. MUELLER, III
                                                       Special Counsel

/s/ Thomas C. Green                                    /s/ Andrew Weissmann
Thomas C. Green (D.C. Bar No. 14498)                   Andrew Weissmann
Sidley Austin LLP                                      Greg D. Andres (D.D.C. Bar No. 459221)
1501 K Street, N.W.                                    U.S. Department of Justice
Washington, D.C. 20005                                 Special Counsel’s Office
tcgreen@sidley.com                                     950 Pennsylvania Avenue NW
(202) 736-8069 (telephone)                             Washington, D.C. 20530
(202) 736-8711 (fax)                                   Telephone: (202) 616-0800
Attorney for Richard W. Gates III                      Attorneys for the United States of America
